      Case 4:19-cr-06065-SMJ     ECF No. 99    filed 11/10/21   PageID.578 Page 1 of 13




1                                                                             FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON


2                                                                    Nov 10, 2021
                                                                         SEAN F. MCAVOY, CLERK
3                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                  No. 4:19-cr-06065-SMJ-1
5
                               Plaintiff,
6                                               ORDER DENYING
                  v.                            DEFENDANT’S THIRD AND
7                                               FOURTH MOTIONS TO DISMISS
     HUGO SANCHEZ-MERINO,
8
                               Defendant.
9

10         Before the Court are Defendant’s Third Motion to Dismiss, ECF No. 66, and

11   Fourth Motion to Dismiss, ECF No. 67. Defendant is charged with being an alien

12   in the United States after deportation and now challenges two of his three predicate

13   prior removals. On September 30, 2021, the Court heard oral argument on the

14   motions and took them under advisement. Because Defendant’s motions raise the

15   same issue, the Court considers them together. Having reviewed the relevant record,

16   the Court is fully informed and denies the motions.

17                                    BACKGROUND

18         Defendant originally came to the United States from Mexico as a teenager and

19   remained for fourteen years. See ECF No. 65-1 at 1. In 1997, when he was

20   twenty-five, he was convicted of petty theft. ECF No. 64-4 at 3. Defendant has three




     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 1
         Case 4:19-cr-06065-SMJ    ECF No. 99     filed 11/10/21   PageID.579 Page 2 of 13




1    siblings who live in the United States, including one who is a naturalized citizen and

2    one who is a lawful permanent resident. ECF No. 64-1 at 2.

3            After having been previously removed from the United States three times,

4    immigration authorities encountered Defendant in September 2019 when he was in

5    Benton County Jail on pending charges, leading to the indictment in this case. ECF

6    No. 64-4 at 3.

7            The Court has previously set forth the relevant facts in this matter in its Order

8    Denying Defendant’s Second Motion to Dismiss, ECF No. 9, and incorporates those

9    facts herein. Because Defendant’s motions focus only on his May 2, 2000 removal

10   (“second removal”) and his August 20, 2001 removal (“third removal”), the Court

11   elaborates on those facts here.

12   A.      Second Removal – May 2, 2000

13           On April 30, 2000, Defendant presented himself at the San Ysidro, California

14   port of entry, falsely claiming to be a U.S. citizen. ECF No. 65-2. This was

15   Defendant’s second attempt in two days to fraudulently enter the United States.

16   Immigration authorities served him with a Notice to Appear to initiate formal

17   removal proceedings before an immigration judge the same day.1 ECF No. 65-3.

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     1
       The NTA charged Defendant as being removable because he falsely claimed to be
20   a U.S. citizen without supporting documentation and had been previously removed
     in the last five years. ECF No. 65-3.


     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 2
      Case 4:19-cr-06065-SMJ      ECF No. 99    filed 11/10/21   PageID.580 Page 3 of 13




1            On May 2, 2000, Defendant appeared before an immigration judge (“IJ”) in

2    El Centro, California for a group removal proceeding. ECF No. 65-5. He was the

3    first respondent and his individual hearing lasted approximately seven minutes.

4    ECF No. 66-6. Defendant agreed to proceed without an attorney and admitted to the

5    allegations in the NTA. Id. The IJ verified that Defendant had no spouse or children

6    living in the United States. Id. At no point did the IJ advise Defendant that he could

7    withdraw his application as an alternative to removal. Id.

8            Ultimately, the IJ ordered Defendant removed to Mexico. ECF No. 65-5.

9    When asked whether he wished to appeal the decision, Defendant responded: “no.”

10   Id. The written removal order merely notes that Defendant made admissions that

11   subjected him to removal and that he “made no applications for relief from

12   removal.” ECF No. 65-5. The order further notes that Defendant waived his right

13   to appeal the removal order. Id. He was removed to Mexico that evening. ECF

14   No. 65 at 4.

15   B.      Third Removal – August 20, 2001

16        On August 12, 2001, Defendant again presented himself at the San Ysidro port

17   of entry, claiming to be a U.S. citizen and presenting a birth certificate bearing

18   someone else’s name. ECF No. 65-7. Immigration officials served him with an NTA

19   to initiate removal proceedings. ECF No. 65-8. Five days later, on August 17, 2001,

20   immigration officials served Defendant—through a custodial officer—with a




     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 3
         Case 4:19-cr-06065-SMJ   ECF No. 99    filed 11/10/21   PageID.581 Page 4 of 13




1    Notice of Hearing (“NOH”), which advised that his removal hearing would occur

2    at the detention facility that he was housed at.

3         On August 20, 2001, Defendant appeared before an immigration judge in San

4    Diego, California. ECF No. 65-10. For most of the hearing, the immigration judge

5    spoke to the group of respondents together. ECF No. 67-5. Defendant’s individual

6    interaction with the immigration judge lasted approximately three minutes. Id. He

7    waived his right to counsel and admitted the allegations in the NTA. Id. He told the

8    IJ he had never had legal status or applied for amnesty, but that he had a sister in

9    the United States who was an “American or immigrant.”2 Id. The IJ never informed

10   Defendant of any possible relief, although he did later advise the group that they

11   were not eligible for voluntary departure as a matter of law. Id. The IJ also stated

12   that if they accepted the removals as final, “the immigration officers will send you

13   people from Mexico back to Mexico tonight,” while those who appealed would

14   remain in the United States. Id.

15        The written removal order states only that Defendant made admissions that

16   subjected him to removal and that he “made no applications for relief from

17   removal.” ECF No. 65-10. The order further notes that Defendant waived his

18   appeal. Id. He was removed to Mexico the next day. ECF No. 65 at 6.

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20   2
      As noted, at that time of the third removal hearing, Defendant had a sister who
     was an American citizen and a brother who was a lawful permanent resident.


     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 4
      Case 4:19-cr-06065-SMJ     ECF No. 99    filed 11/10/21   PageID.582 Page 5 of 13




1                                  LEGAL STANDARD

2          A valid prior order of removal is a predicate to a violation of 8 U.S.C. § 1326.

3    United States v. Lopez, 762 F.3d 852, 858 (9th Cir. 2014). Thus, a defendant

4    charged with illegal reentry can defend against the charge by attacking the validity

5    of the prior removal. United States v. Raya-Vaca, 771 F.3d 1195, 1201 (9th Cir.

6    2014) (quoting United States v. Ubaldo-Figueroa, 364 F.3d 1042, 1047 (9th Cir.

7    2004)). To successfully challenge the validity of an underlying removal order, a

8    defendant must demonstrate: (1) that he exhausted any administrative remedies that

9    may have been available to seek relief against the order; (2) the removal

10   proceedings at which the order was issued improperly deprived the noncitizen of

11   the opportunity for judicial review; and (3) the entry of the order was fundamentally

12   unfair. 8 U.S.C. § 1326(d). To show fundamental unfairness, the defendant must

13   show that his “due process rights were violated by defects in his underlying

14   [removal] proceeding,” and that “he suffered prejudice as a result of those defects.”

15   United States v. Melendez-Castro, 671 F.3d 950, 953 (9th Cir. 2012) (internal

16   quotation marks omitted).

17                                     DISCUSSION

18         Defendant argues that both his second and third removal orders are void

19   because the immigration courts violated his due process rights. See generally ECF

20   Nos. 66 & 67. Specifically, Defendant assigns due process violations to the IJs’




     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 5
         Case 4:19-cr-06065-SMJ    ECF No. 99   filed 11/10/21   PageID.583 Page 6 of 13




1    failures to advise Defendant of his eligibility to withdraw his application for

2    admission as an alternative to removal. ECF Nos. 66 at 8; 67 at 6. Defendant further

3    claims he was prejudiced by each asserted due process violation. ECF Nos. 66 at 9;

4    67 at 8. Because the Court finds Defendant cannot establish prejudice, the Court

5    assumes without deciding that Defendant was denied due process when the IJs

6    failed to advise him that he could withdraw his application for admission.3

7    A.      Prejudice

8         Even if a defendant can show he was denied due process, he still bears the burden

9    to show that he suffered prejudice as a result of the deprivation. United States v.

10   Ubaldo-Figueroa, 364 F.3d 1042, 1050 (9th Cir. 2004). Showing prejudice in this

11   context does not require the noncitizen “show he actually would have been granted

12   relief,” but instead requires a showing “that he had a plausible ground for relief

13   from [removal].” Id. Defendant cannot meet this burden for either removal.

14           1.    Framework for withdrawal of an application

15           To assess whether the asserted due process violations resulted in prejudice, a

16   court must first “review the framework authorizing IJs to permit aliens to withdraw

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     3
       Because the Court assumes Defendant was denied due process, Defendant’s
19   challenges to his second and third removal orders are also assumed to be properly
     before this Court. See United States v. Muro-Inclan, 249 F.3d 1180, 1183 (9th Cir.
20   2001) (a waiver of appeal is not valid if the removal proceeding did not comport
     with due process).


     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 6
         Case 4:19-cr-06065-SMJ   ECF No. 99    filed 11/10/21   PageID.584 Page 7 of 13




1    their applications for admission.” United States v. Cisneros-Resendiz, 656 F.3d

2    1015, 1019 (9th Cir. 2011). The Court pauses to do so here.

3            Prior to the enactment of the Illegal Immigration Reform Immigrant

4    Responsibility Act of 1996 (“IIRIRA”), “both IJs and immigration officers

5    exercised their discretion to permit aliens to withdraw their applications for

6    admission based on case law and internal practices.” Id. The Board of Immigration

7    Appeals (“BIA”) provided guidance for the exercise of such discretion in a

8    precedential opinion, Matter of Gutierrez, 19 I. & N. Dec. 562 (BIA 1988). There,

9    a noncitizen attempted fraudulent entry into the United States and was subsequently

10   brought before an IJ to determine whether he was excludable.4 Id. at 563. At the

11   hearing, the IJ determined the noncitizen was excludable but permitted him to

12   withdraw his application for admission, citing “favorable equities.” Id.

13           On appeal, the BIA reversed, holding that “a balancing of the equities test is

14   not an appropriate method by which to determine whether an alien merits

15   permission to withdraw an application for admission. Id. at 564. Rather, an IJ

16   “should not allow withdrawal unless an alien, in addition to demonstrating that he

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     4
       Prior to the enactment of the IIRIRA, there were two types of removal
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     proceedings: deportation (for noncitizens within the United States) and exclusion
     (for noncitizens outside the United States). Vasquez-Zavala v. Ashcroft, 324 F.3d
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     1105, 1107 (9th Cir. 2003). Pre-IIRIRA, a person who attempted entry but did not
     clear customs was subject to exclusion proceedings. Hose v. I.N.S., 180 F.3d 992,
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     994 (9th Cir. 1999).



     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 7
      Case 4:19-cr-06065-SMJ      ECF No. 99     filed 11/10/21   PageID.585 Page 8 of 13




1    possesses both the intent and the means to depart immediately from the United

2    States, establishes that factors directly relating to the issue of his admissibility

3    indicate that granting withdrawal would be in the interest of justice.” Id. at 564–65.

4          Years after Matter of Gutierrez, Congress enacted the IIRIRA and “codified

5    withdrawal of an application for admission as a form of discretionary relief.”

6    Cisneros-Resendiz, 656 F.3d at 1020. Withdrawal of application is now codified as

7    follows: “[a]n alien applying for admission may, in the discretion of the Attorney

8    General and at any time, be permitted to withdraw the application for admission and

9    depart immediately from the United States.” 8 U.S.C. § 1225(a)(4).

10         The regulations implementing this statute limit relief to a certain class of

11   noncitizens. Specifically, an IJ may only permit a noncitizen to withdraw his

12   application for admission if: (1) he is an arriving alien; (2) he possesses both the

13   intent and the means to depart immediately from the United States; and (3) he

14   establishes that factors directly relating to the issue of inadmissibility indicate that

15   the granting of the withdrawal would be in the interest of justice. 8 C.F.R. §

16   1240.1(d).

17         2.     Under this standard, Defendant cannot establish prejudice
                  resulting from the asserted due process violations
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        Defendant asserts that he suffered prejudice when the IJs presiding over his
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     second and third removal hearings failed to explain that he could withdraw his
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     application for admission as an alternative to removal. ECF Nos. 66 at 9; 67 at 8. In



     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 8
      Case 4:19-cr-06065-SMJ     ECF No. 99    filed 11/10/21   PageID.586 Page 9 of 13




1    other words, Defendant submits that it is plausible that the IJs would have granted

2    him such relief. The Court disagrees. While Defendant meets the first two eligibility

3    requirements, he cannot show that it would have been in the interest of justice to

4    permit him to withdraw his application at either his second or third removal hearing.

5                 i.    Defendant was an arriving alien and possessed the means
                        and intent to immediately depart to Mexico
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           At both Defendant’s second and third removal hearings, he was considered
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     an arriving alien because on both occasions he entered the United States at the San
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     Ysidro port of entry. See 8 C.F.R. § 1.2 (an arriving alien is a noncitizen coming
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     into the United States at a port-of-entry). To be sure, on the United States
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     Department of Homeland Security’s standard Notice to Appear form, there are three
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     checkboxes to designate a noncitizen’s status: (1) “You are an arriving alien;”
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     (2) “You are an alien present in the United States who has not been admitted or
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     paroled;” and (3) “You have been admitted to the United States, but are removable
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     for the reasons stated below.” ECF No. 40-4 at 1. Only the first box was checked
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     on both Defendant’s NTA for his second removal hearing, ECF No. 66-3, and his
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     NTA for his third removal hearing, ECF No. 67-3.
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           Defendant, on both occasions, also intended to and could have immediately
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     departed to Mexico. At Defendant’s second removal hearing, he told the IJ “all I
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     want is Mexico,” and he waived the right to appeal his removal. ECF No. 66-6. His
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     removal hearing occurred in El Centro, California (a border city), so he could have



     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 9
      Case 4:19-cr-06065-SMJ     ECF No. 99   filed 11/10/21   PageID.587 Page 10 of 13




1    easily departed to Mexico. At Defendant’s third removal, the IJ told the noncitizen

2    respondents that if they accepted the removals as final, “the immigration officers

3    will send you people from Mexico back to Mexico tonight,” while those who

4    appealed would remain in the United States. ECF No. 67-5. Defendant waived his

5    appeal. Id. This removal hearing occurred in San Diego, California—another border

6    city—again establishing that Defendant could have immediately departed back to

7    Mexico.

8                 ii.   Defendant cannot establish that granting an application to
                        withdraw would be in the interest of justice
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           In order for an IJ to permit a noncitizen to withdraw his application, the
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     noncitizen must establish “that factors directly relating to the issue of
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     inadmissibility indicate that the granting of the withdrawal would be in the interest
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     of justice.” 8 C.F.R. § 1240.1(d). Even under the more favorable standard
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     Defendant urges the Court to apply, he cannot make this showing.,
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           The Government argues that in assessing whether Defendant has established
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     plausibility, the Court should be guided by Matter of Gutierrez and assesses only
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     those factors directly relating to the issue of his admissibility. ECF No. 76 at 12–
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     15; ECF No. 77 at 11–14. Defendant contends that Matter of Gutierrez is not
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     controlling and instead urges the Court to look to the factors set forth in the
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     Inspector’s Field Manual. ECF Nos. 80 at 4–6; 81 at 5–7. The Court need not
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     resolve this issue because even under the more favorable standard set forth in the



     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 10
         Case 4:19-cr-06065-SMJ   ECF No. 99   filed 11/10/21   PageID.588 Page 11 of 13




1    Field Manual, Defendant cannot establish that it is plausible he would have been

2    granted relief.

3            Following the enactment of the IIRIRA, the Immigration and Naturalization

4    Service (“INS”)5 prepared an Inspector’s Field Manual to guide an immigration

5    inspector’s exercise of discretion. United States v. Barajas-Alvarado, 655 F.3d

6    1077, 1090 (9th Cir. 2011). The Field Manual enumerates six factors that

7    immigration officers should assess in considering a noncitizen’s request to

8    withdraw his application: (1) the seriousness of the immigration violation; (2)

9    previous findings of inadmissibility against the noncitizen; (3) intent on the part of

10   the noncitizen to violate the law; (4) ability to easily overcome the ground of

11   inadmissibility; (5) age or poor health of the noncitizen; and (6) other humanitarian

12   or public interest considerations. Id. The Field Manual further advises that a

13   removal order “should ordinarily be issued, rather than permitting withdrawal, in

14   situations where there is obvious, deliberate fraud on the part of the applicant. Id.

15   (citing INS Inspector's Field Manual § 17.2(a) (2001), available at Westlaw FIM–

16   INSFMAN 17.2).

17           Under this standard, it is implausible that the IJ would have permitted

18   withdrawal instead of issuing the second removal order. Defendant entered the

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     5
      In 2003, INS was subsumed under the Department of Homeland Security. DEP’T
20   HOMELAND SEC., OFFICE OF IMMIGRATION STATISTICS, https://www.dhs.gov/office-
     immigration-statistics (last visited Nov. 10, 2021).


     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 11
      Case 4:19-cr-06065-SMJ     ECF No. 99    filed 11/10/21   PageID.589 Page 12 of 13




1    United States by fraudulently claiming to be a United States citizen—a serious

2    immigration violation. At the time he entered, he had previously been removed just

3    days prior. His fraudulent claim of citizenship shows deliberate intent to violate the

4    law, and he cannot easily overcome such grounds of inadmissibility. Defendant

5    does not claim to be elderly and does not allege that he suffered from poor health.

6    And even to the extent that Defendant’s durational history and family ties can be

7    considered public interest considerations, they are not enough to outweigh the other

8    factors weighing against him. It is thus implausible that Defendant would have been

9    permitted to withdraw his application for admission in lieu of his second removal.

10         The same is true of Defendant’s third removal. Defendant again fraudulently

11   entered the United States, this time presenting a birth certificate bearing someone

12   else’s name. At the time of Defendant’s third removal, he had previously been

13   removed twice. Presenting false documents again shows intent to violate the law,

14   and he cannot easily overcome these grounds of inadmissibility.

15         Considering “the Field Manual’s emphasis on the disqualifying effect of

16   obvious, deliberate fraud on the part of the applicant,” Defendant cannot show that

17   it is plausible he would have been granted relief. Barajas-Alvarado, 655 F.3d at

18   1091. Defendant has thus failed to establish prejudice and therefore cannot show

19   that either his second or third removal orders were invalid.

20   //




     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 12
      Case 4:19-cr-06065-SMJ   ECF No. 99   filed 11/10/21   PageID.590 Page 13 of 13




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3          Accordingly, IT IS HEREBY ORDERED:

4          1.    Defendant’s Third Motion to Dismiss, ECF No. 66, is DENIED.

5          2.    Defendant’s Fourth Motion to Dismiss, ECF No. 67, is DENIED.

6          IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and

7    provide copies to all counsel, the U.S. Probation Office, and the U.S. Marshals

8    Service.

9          DATED this 10th day of November 2021.

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11                     _________________________
                       SALVADOR MENDOZA, JR.
12                     United States District Judge

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     ORDER DENYING DEFENDANT’S MOTIONS TO DISMISS – 13
